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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


SECURITIES AND EXCHANGE
COMMISSION,                                            Civil Action No. 21-CV-11276-WGY
            Plaintiff,
    v.

FREDERICK L. SHARP, ZHIYING
YVONNE GASARCH, COURTNEY
KELLN, MIKE K. VELDHUIS, PAUL
SEXTON, JACKSON T. FRIESEN,
WILLIAM T. KAITZ, AVTAR S.
DHILLON, and GRAHAM R. TAYLOR,

                  Defendants.


                        JOINT PROPOSED SCHEDULING ORDER

      At the hearing held on January 20, 2022, the Court instructed the parties to meet and

confer concerning a schedule for the proceedings in this case and to submit a joint proposal,

outlining any differences that the parties may have (D.E. 189) (the “Hearing”). The parties have

conferred, and there is a difference of opinion among the parties as to the schedule that the Court

should adopt. One proposed schedule, with dates listed in the column labeled Proposal #1, is

submitted jointly on behalf of plaintiff Securities and Exchange Commission and defendants

Zhiying Yvonne Gasarch, Paul Sexton, Jackson Friesen, William Kaitz, Graham Taylor and

Avtar Dhillon. The other proposed schedule, with dates listed in the column labeled Proposal #2,

is submitted jointly on behalf of defendants Mike Veldhuis and Courtney Kelln. Following the

proposed schedules is a short statement from each group of parties in support of their proposed

schedule.
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                              Matter                                 Proposal #1            Proposal #2

Jury Trial Ready                                                       4/24/2023              Deferred

Final Pretrial Conference [LR 16] and Hearing on Motions
                                                                                              Deferred
In Limine                                                              4/3/2023


Joint Pretrial Memo due - LR 16.5(d)
                                                                                              Deferred
                                                                       3/20/2023


Joint Pretrial Memo exchange of info between parties – to
                                                                                              Deferred
prepare for filing due 3/20/2023                                       2/27/2023

                                                                                              Deferred
Oppositions to Dispositive Motions due                                 2/13/2023

Dispositive Motions due                                                1/23/2023
                                                                                              Deferred
                                                                      12/16/2022
Expert Deposition Deadline
                                                                                              Deferred
Expert Disclosure (Rebuttal)                                           12/1/2022
                                                                                              Deferred
Expert Disclosure (Initial)                                            11/1/2022
                                                                                              Deferred
All Fact discovery closes – all written discovery served such         12/16/2022              Deferred
that responses are due by this date
Last Date to Move to Amend Pleadings or Add Parties                    5/2/2022 1             Deferred

Initial Disclosures Due                                                4/1/2022               Deferred

Joint Rule 26(f) Report of Discovery Planning Meeting                  3/18/2022              Deferred



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     On January 20, 2022, the Court tentatively denied all motions to dismiss filed in this case, pending
   further review. See Dkt. No. 189. In the event that the Court subsequently grants any motions to dismiss,
   in part or whole and without prejudice, and does so on or after April 22, 2022, the Commission may seek
   leave to amend its complaint 10 days after any such ruling.



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                               Statement Supporting Proposal #1

       To account for the complexities of this case and the expected volume of discovery

to include millions of documents and communications, plaintiff Securities and Exchange

Commission and defendants Zhiying Yvonne Gasarch, Paul Sexton, Jackson Friesen,

William Kaitz, Graham Taylor and Avtar Dhillon seek a slight departure from the “ready

for trial” and dispositive motions deadlines currently set forth during the Hearing.

  Position of Defendants Courtney Kelln and Mike K. Veldhuis in Support of Proposal #2

       At a hearing on January 20, 2022, the Court set a “ready trial” date of January 3, 2023

and a deadline of December 1, 2022 for a joint final pretrial memorandum. At the time of the

January 20th hearing, the parties had not yet conferred concerning any proposed case

management schedule and plaintiff Securities and Exchange Commission had not yet disclosed

the extent of its investigative file to be produced in discovery. The Court directed the parties to

submit a joint case management plan based upon that January 2023 trial date.

       Defendants Kelln and Veldhuis request that the Court re-set the “ready trial” date for this

action from January 3, 2023 to at least January 2024 based upon the following information that

was unavailable to the Court on January 20th.

       First, the SEC has disclosed that its investigative file contains “millions” of documents

and more than 2 tetrabytes of data. Even if counsel for defendants could review more than 2,000

documents per day, a full review of the SEC’s investigative file will necessarily take more than

one year to complete. The SEC has disclosed that its own investigation that led to the institution

of this action (and others) took several years to complete.

       Second, the U.S. Attorney’s Office for the District of Massachusetts (the “USAO”) has

informed counsel for Defendants Kelln and Veldhuis that the USAO intends to seek a partial stay



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of discovery in this action to prevent the taking of any witness depositions in this SEC civil

action until after the completion of related criminal proceedings. [In August 2021, the USAO

announced the filing of a criminal complaint against Defendants Kelln and Veldhuis and two

others.]

        Under these new circumstances, Defendants Kelln and Veldhuis respectfully request that

the Court re-set the January 2023 “ready trial” date and defer issuing a case management plan

until after ruling upon the USAO’s upcoming motion for a partial stay of discovery in this SEC

civil action.

Dated: February 18, 2022
                                              Respectfully submitted,

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                              CERTIFICATE OF SERVICE

        I hereby certify that on February 18, 2022, a true and correct copy of the foregoing
document was filed through the Court’s CM/ECF system, and accordingly, the document will be
sent electronically to all participants registered to receive electronic notice in this case.


                                 /s/ Kathleen B. Shields
                                   Kathleen B. Shields




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